          Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 1 of 32 Page ID #:382



                     1   John S. Purcell (SBN 158969)
                         ARENT FOX LLP
                     2   555 West Fifth Street, 48th Floor
                         Los Angeles, California 90013-1065
                     3   Telephone: 213.629.7400
                         Facsimile: 213.629.7401
                     4   Email:     john.purcell@arentfox.com
                     5
                         Attorneys for Defendant
                     6   LG ELECTRONICS USA, INC.
                     7
                     8                              UNITED STATES DISTRICT COURT
                     9                             CENTRAL DISTRICT OF CALIFORNIA
                   10
                   11    SANSI NORTH AMERICA, LLC, a              Case No. 2:18-cv-03541 PSG (SKx)
                         New York limited liability company,
                   12                                             DECLARATION OF GARRY
                                              Plaintiff,          WICKA IN SUPPORT OF
                   13                                             DEFENDANT LG ELECTRONICS
                         v.                                       USA, INC.’S MOTION FOR
                   14                                             SUMMARY JUDGMENT
                         LG ELECTRONICS USA, INC., a
                   15    Delaware corporation, and DOES 1-10,     [Filed Concurrently with Notice of Motion and
                                                                  Motion for Summary Judgment; Memorandum
                   16                         Defendant.          of Points and Authorities in Support Thereof;
                                                                  Separate Statement of Undisputed Facts;
                   17                                             Declarations of John S. Purcell and Laura
                                                                  Cohen; and [Proposed] Order submitted]
                   18
                                                                  Date:               November 18, 2019
                   19                                             Time:               1:30 p.m.
                                                                  Judge:              Hon. Philip S. Gutierrez
                   20                                             Courtroom:          6A
                   21
                   22                                             SAC filed:                  Sept. 24, 2018
                                                                  Trial Date:                 Jan. 14, 2020
                   23                                             Discovery Cut-Off:          Aug. 28, 2019
                                                                  Final PTC:                  Dec. 16, 2019
                   24
                   25
                   26
                   27
                   28
A RENT F OX LLP
ATTO RNEY S AT LAW                                                        DECLARATION OF GARRY WICKA IN SUPPORT OF
  WAS HI NG TO N         2:18-CV-03541 PSG (SKx)                         DEFENDANT LG ELECTRONICS USA, INC.’S MOTION
                                                                                            FOR SUMMARY JUDGMENT
                          AFDOCS/20824935.1
          Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 2 of 32 Page ID #:383



                     1             I, Garry Wicka, declare as follows:
                     2             1.         I am over the age of 18 and a Vice President of Marketing for LG
                     3   Electronics USA, Inc., a defendant in this action. I make this declaration of my
                     4   personal and firsthand knowledge and, if called and sworn as a witness, I could and
                     5   would testify competently hereto.
                     6             2.         LG is an international electronics products company headquartered in
                     7   Seoul, South Korea. This case relates to LG’s products in the digital signage
                     8   market in the United States, specifically its direct view LED (Light Emitting Diode)
                     9   and OLED (Organic Light Emitting Diode) products. Direct View LED is a flat
                   10    panel display involving the use of LEDs. OLED displays are a specific, and
                   11    advanced, version of LEDs that allow for tremendous flexibility and superior
                   12    viewing angles to standard LED technology. LG is currently the only company that
                   13    sells OLED products. In my position, I am familiar with LG’s marketing and sales
                   14    as they relate to OLED and direct view LED and I oversee dozens of employees
                   15    who work in these areas.
                   16              3.         In early 2017, LG hired Robin Duggan of 2.gc, inc. to create an
                   17    eBook about developments in digital signage (“eBook 1”), with a focus on LG and
                   18    OLED in particular. eBook 1 included pictures of several non-LG products, one of
                   19    which was a screenshot of a video of Sansi’s Salesforce LED display. These
                   20    pictures were included as examples of interesting ways businesses used digital
                   21    signage. The caption for the Salesforce picture in eBook 1 did not mention OLED
                   22    or LG. A true and correct copy of eBook 1 is attached hereto as Exhibit A.
                   23              4.         About a year later, LG entered into an agreement with NewBay Media
                   24    for several marketing projects, including one whereby NewBay would prepare the
                   25    Article for placement in NewBay’s Digital Signage Magazine, an industry
                   26    publication with about 11,000 subscribers. The Article was intended to focus on
                   27    LG OLED display capabilities. Ms. Duggan was not involved in this effort.
                   28    However, when NewBay prepared the Article, it based some of its work on Ms.
A RENT F OX LLP
ATTO RNEY S AT LAW                                                                DECLARATION OF GARRY WICKA IN SUPPORT OF
  WAS HI NG TO N         2:18-CV-03541 PSG (SKx)                        -2-      DEFENDANT LG ELECTRONICS USA, INC.’S MOTION
                                                                                                    FOR SUMMARY JUDGMENT
                          AFDOCS/20824935.1
          Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 3 of 32 Page ID #:384



                     1   Duggan’s pre-existing eBook about digital signage and included an image of the
                     2   Salesforce Display, a project Sansi worked on that is located in the lobby of the
                     3   Salesforce headquarters in San Francisco, California.
                     4             5.         Although I am listed as the author, the Article was actually written by
                     5   a man named David Keene and placed in the magazine under my name. I was not
                     6   aware that this was going to occur prior to publication. I have spoken to Mr. Keene
                     7   about his process for writing the article. I am aware that he and the others at
                     8   NewBay believed that all the pictures in the eBook were OLED displays, and
                     9   changed the caption on the picture depicting the Salesforce Display so that it
                   10    referred to the wall as a “custom built OLED screen.” This was a mistake, as the
                   11    Salesforce Display was not OLED, but rather a conventional LED screen.
                   12              6.         When the article was then reviewed by LG’s in house advertising
                   13    agency, HSAd America, it updated the “OLED” references to “LG OLED” as part
                   14    of a global change. None of the people actually involved in creating the Article
                   15    were aware that the Salesforce Display was neither OLED nor created by LG, and
                   16    none of them spotted this mistake. NewBay then received the copy back from
                   17    HSAd America, and published it without further comment from LG. A true and
                   18    correct copy of the Article that appeared in Digital Signage Magazine is attached
                   19    hereto as Exhibit B. A digital version of the article, in downloadable eBook form
                   20    (“eBook 2”), was available on NewBay’s website. A true and correct copy of
                   21    eBook 2 is attached hereto as Exhibit C.
                   22              7.         A few months later, in March 2018, Sansi’s outside legal counsel
                   23    informed LG about the mistake. LG investigated and quickly arranged for NewBay
                   24    Media to take immediate action to retract the photo and caption. LG also made sure
                   25    that eBook 2 was immediately taken down and not available online. LG has also
                   26    subsequently take even eBook 1 down. We made sure never to use eBook 2 for any
                   27    marketing purposes after learning about the mistaken caption.
                   28              8.         After the mistaken caption was brought to LG’s attention, LG obtained
A RENT F OX LLP
ATTO RNEY S AT LAW                                                                  DECLARATION OF GARRY WICKA IN SUPPORT OF
  WAS HI NG TO N         2:18-CV-03541 PSG (SKx)                         -3-       DEFENDANT LG ELECTRONICS USA, INC.’S MOTION
                                                                                                      FOR SUMMARY JUDGMENT
                          AFDOCS/20824935.1
          Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 4 of 32 Page ID #:385



                     1   information from NewBay about how many times it was downloaded and by
                     2   whom. The list of eBook 2 downloads contained only 102 names. None of these
                     3   people worked for companies who placed an order for LG’s direct view LED
                     4   displays (which is LG’s product most similar to the Salesforce Display). A true and
                     5   correct copy of the list of companies NewBay provided is attached as Exhibit D.
                     6   Also, LG also did not place the names on Exhibit D into LG’s sales lead data base
                     7   after receiving them from NewBay.
                     8             9.         Only one of the companies on Exhibit D made a purchase of an LG
                     9   OLED project. This sale was made to a company that had done business with LG
                   10    for years prior to the publication of the Article or the eBook 2 and who had bought
                   11    OLED products form LG both before and after the Article and eBook 2 were
                   12    published.
                   13              10.        LG also offered to place an ad in Digital Signage Magazine to
                   14    acknowledge the mistake. Sansi rebuffed this offer and instead filed its complaint
                   15    in this action on April 26, 2018.
                   16              11.        LG has never sold any Sansi product, including the Salesforce Display,
                   17    or any product that was a copy of the Salesforce Display. It also never removed
                   18    Sansi’s name from any products.
                   19              12.        The products LG provides that are most similar to Sansi’s Salesforce
                   20    Display are LG’s Direct View LED. In the time since the Article appeared, the
                   21    only Direct View LED projects LG had commenced or sold were: (i) Columbus
                   22    Convention Center for Coffman Media in Columbus, Ohio; (ii) Apple, Inc. project
                   23    in Culver City, California; (iii) Dallas Fort Worth Airport project in Dallas, Texas;
                   24    and (iv) Westin Kierland project in Scottsdale, Arizona.
                   25              13.        I am intimately familiar with these projects and know that none of
                   26    these projects came to LG as the result of the Articles or the eBooks or because of
                   27    the Salesforce Display. Neither Sansi nor Salesforce came up during any
                   28    negotiations for these project and LG did not use the Salesforce Display in any of
A RENT F OX LLP
ATTO RNEY S AT LAW                                                                 DECLARATION OF GARRY WICKA IN SUPPORT OF
  WAS HI NG TO N         2:18-CV-03541 PSG (SKx)                         -4-      DEFENDANT LG ELECTRONICS USA, INC.’S MOTION
                                                                                                     FOR SUMMARY JUDGMENT
                          AFDOCS/20824935.1
Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 5 of 32 Page ID #:386
Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 6 of 32 Page ID #:387




         EXHIBIT A
                                                                      Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 7 of 32 Page ID #:388




       LG’s Commercial OLEDs
       Have A Place In All Markets
       WHAT YOU NEED TO KNOW




         CONFIDENTIAL
LG’s Commercial OLEDs Have A Place In All Markets   Exh A - Page 06                      LG000003
                                                                                          Images are simulated.   1
                                                                                                               Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 8 of 32 Page ID #:389




                                                           TABLE OF CONTENTS
                                                           Introduction................................................................................3

                                                           Digital Signage on the Fast Track..........................................4
                                                               2013 The University of Technology in Brisbane
                                                               2014 Times Square
                                                               2015 LG Creates World’s Largest OLED Display
                                                               2016 The Salesforce San Francisco Lobby

                                                           What’s Next?..............................................................................5

                                                           LG OLEDs Have A Place In All Markets .........................6-10
                                                              Retail...........................................................................................................................7-8
                                                              Transportation...............................................................................................9-10
                                                              Public Venues..............................................................................................11-12
                                                              Hospitality......................................................................................................13-14
                                                              Corporate.......................................................................................................15-16

                                                           A Glimpse Into the Future ....................................................17




         CONFIDENTIAL
LG’s Commercial OLEDs Have A Place In All Markets   Exh A - Page 07                                                                                              LG000004
                                                                                                                                                                  Images are simulated.         2
                                                                                  Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 9 of 32 Page ID #:390




                                                         “LG OLEDs are a
                                                          game changer”                         Gary Kayye
                                                                                                RAVE Founder
                                                                                                Quoted from DSE 2017



                                                           Digital signage has been around for years but whether
                                                           digital content was displayed from a projector, a flat
                                                           panel, or video wall, creative teams didn’t really think
                                                           beyond the content they were developing. Now with
                                                           the advancements in display technologies, brands are
                                                           not just looking at their content but to architects and
                                                           designers to create new spaces to incorporate digital
                                                           signage that had not previously been part of their
                                                           digital strategy.
                                                           LG OLED displays have broken away from the limits
                                                           of form and have freely overcome the hindrances of
                                                           digital signage of the past. LG’s OLED displays are
                                                           thinner, lighter, and no longer just stick out from a wall.
                                                           They can seamlessly blend into an environment or
                                                           become the environment. They form into concave and
                                                           convex shapes that hang from the ceiling, wall, or floor.
                                                           These totally immersive displays engage customers in
                                                           a way never seen before.




         CONFIDENTIAL
LG’s Commercial OLEDs Have A Place In All Markets   Exh A - Page 08                                    LG000005
                                                                                                        Images are simulated.   3
                                                                                            Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 10 of 32 Page ID #:391


DIGITAL SIGNAGE
ON THE FAST TRACK
2013 The University of Technology in Brisbane opened the               2015 LG creates the world's largest OLED display at South
world’s largest multi-touch installation. This installation called     Korea's Incheon International Airport. This OLED display is
“The Cube”, is an evolutionary digital interactive learning            made up of 140 55-inch curved OLED panels and measures
exhibition space consisting of 48 multi-touch displays, 14 HD          42.6’ high by 26.24’ wide, setting the new world record for
projectors, and 55 speakers in six separate displays zones             the largest OLED display, according to the World Record
totaling 145 million megapixels.                                       Academy.1

This installation was used as a teaching tool for its students
and a science and engineering outreach to the community.1




CLICK HERE                                                             CLICK HERE
TO WATCH                                                               TO WATCH




2014 Times Square installs what was touted as the world’s              2016 The Salesforce San Francisco office has a custom-
largest high-definition digital signage, which is as long as a         built screen in their lobby that is 12K resolution, with over 7
football field and eight stories tall. The 24 million LED pixel        million pixels, and measures close to 107’ long. The content is
screens was part of a project to expand and redevelop the              amazing to see from a waterfall to California’s Redwood
Marriott Marquis retail space.1                                        National Park and is synced with the local weather to play
                                                                       content that matches the weather.1




CLICK HERE                                                             CLICK HERE
TO WATCH                                                               TO WATCH




          CONFIDENTIAL
 LG’s Commercial OLEDs Have A Place In All Markets          Exh A - Page 09                                          LG000006
                                                                                                                      Images are simulated.   4
                                                                                                              Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 11 of 32 Page ID #:392


    WHAT NEXT? LG OLED DISPLAYS.
    LGis one of the major manufacturers of OLED technology, and its               LG’s OLED ABCDs
    proprietary technology has surpassed all expectations creating a              Performance that no other displays can match.
    new high-end digital signage category. Setting these displays apart                             Perfect Black. Each pixel can switch off completely to reproduce
    from all others are characteristics called the ABCDs of OLED; wide                              absolute black with no light bleed.

    viewing Angles, blackest Blacks, vibrant Colors and customizable                                Stunning Color and Contrast. Self-lighting pixels bring colors to life with
                                                                                                    superb accuracy and infinite contrast.
    Designs. As form follows function or in this case, function is
    following these OLEDs forms, of which the line-up consists of:                                  Wide Viewing Angle. Enjoy awe-inspiring picture quality across the entire
                                                                                                    screen, even from wide viewing angles.

                                                                                                    Razor-Thin Design. With just two layers, the LG OLED signage displays
a   LG DUAL-VIEW FLAT OLED DISPLAYS. Razor thin LG OLEDs are                                        are unbelievably lightweight and razor thin.
    dual-sided allowing them to play the same or different content on
    the front and the back. They can be hung from the ceiling, mounted
    on a wall or stand on the floor. They can be oriented in portrait or      d    LG WALLPAPER OLED DISPLAYS. This spectacular razor-thin
    landscape and equipped with SuperSign W-Lite | C.                              display is the sure game changer with nothing else like it in the
                                                                                   world. LG OLED Wallpaper mounts so seamlessly that it creates
                                                                                   a new kind of harmony between moving images and interior
b   LG OPEN-FRAME CURVED OLED DISPLAYS. These LG OLEDs are
                                                                                   décor. These models can be mounted to the wall, ceiling or floor
    beautifully curved using slim tiles that form customizable displays
                                                                                   using a magnetic mat that is so lightweight it can be installed
    linking 2, 3 or 4 tiles together. The pencil-thin display can be arched
                                                                                   by a single person.
    and curved, concave or convex, by using the OLED Module | Signage
    Box and T-Con Box | Cables.
                                                                              e    LG IN-GLASS WALLPAPER OLED DISPLAYS. LG OLED In-Glass
                                                                                   displays suspend two Wallpaper displays back-to-back
c   LG DUAL-VIEW CURVED TILING OLED DISPLAYS. The modular
                                                                                   surrounded by a glass frame. When installed from the ceiling
    design of this display allows 1x2, 1x3 and 1x4 layout capabilities.
                                                                                   using a single connection cable, they seem to defy gravity.
    Dual-sided and ultra thin create a perfect space divider playing the
                                                                                   Floorstanding, they look like they are floating in air. And adding
    same or different content front to back.
                                                                                   to their versatility they are dual-sided and can play content front
                                                                                   to back.

           b
                                                                                                e




                                                                                                                                                                             d




     a




                                                        c




             CONFIDENTIAL
    LG’s Commercial OLEDs Have A Place In All Markets           Exh A - Page 10                                                                     LG000007
                                                                                                                                                     Images are simulated.   5
                                                                                       Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 12 of 32 Page ID #:393




                                                           LG OLEDs HAVE A
                                                           PLACE IN ALL MARKETS

                                                              RETAIL   TRANSPORATION      PUBLIC VENUES   HOSPITALITY   CORPORATE




                                                           LG OLEDs allow brands to express themselves in a
                                                           new and moving way. Retail, Transportation, Public
                                                           Spaces, Hospitality and Corporate verticals can put
                                                           their vision on full display, elevating the brand and
                                                           connecting more deeply with their customers,
                                                           visitors, and employees. One thing is sure, LG’s OLEDs
                                                           will be noticed because of their ABCD’s. Here we have
                                                           outlined some great usage ideas for different
                                                           markets.




         CONFIDENTIAL
LG’s Commercial OLEDs Have A Place In All Markets   Exh A - Page 11                                                LG000008         6
                                                                                                     Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 13 of 32 Page ID #:394

                                                                                             a

                        RETAIL
    LG’s OLEDs can be used throughout the store for branding,
    merchandising, promoting specials, and educating or                                                                                                                                                                          d
    entertaining customers. LG OLED displays operate as                                                               b
    beautifully as they look, with easy integration and remote
    management that makes it simple to keep things fresh from                            b                                                                                                                b
    wherever your systems are managed.


a   OPEN-FRAME CURVED OLED DISPLAYS
    • Curve them around columns showing a fashion show to lead customers
      around a department
    • Create a sensational moving promotion down the center of main aisles
      covering the entire ceiling
    • Design a unique shaped backdrop behind the registers to show content
      that is relaxing and engaging while shoppers wait to check out
    • Use in window displays to create an eye-catching movement of the
      season’s theme

b   LG DUAL-VIEW FLAT OLED DISPLAYS
    • Grab attention by mounting from the ceiling or place over a center aisle
       in new arrivals
    • Hang them from the sides of columns for directional signage or play
       content suitable for the department’s clientele
    • Mount them on the wall and demo different items on either side for
       total interaction                                                                         c

c   DUAL-VIEW CURVED TILING OLED DISPLAYS
    • Use as a divider for different departments, they take up little floor space,
      can play different content on either side and with their curved form
      create an easy traffic pathway
    • Perfect for pop-ups because they form 2-sided divider walls that are
      easy to move to new locations

d   WALLPAPER OLED DISPLAYS                                                                                                                                                                                e
    • Use on end caps for focused messaging on specialty products
    • Place on the floor below mannequins to create a moving sidewalk
    • Play informational videos on products or services creating an engaging
      self-service area
    • Position throughout the mall broadcasting different retailers and
      restaurants

e   IN-GLASS WALLPAPER OLED DISPLAYS
    • Hang from the ceiling in the front of the store to brand and tell              a
       customers about special offers
    • Ceiling mount them and use as aisle signage to inform customers what
       they can find in that aisle but also promote specials
    • Stand at entrances to welcome and thank customers coming and going                                              b
    • Create an unique store front by hanging them at different levels
       adverting the brand on one side and promotions on the other side




                                                                                                                                                                                a 55EF5C 55” class                           c       65EE5PC 65” class                       e 55EG5CD 55” class
                                                                                                                                                                                  Open-Frame Curved OLED Displays                    Dual-View Curved Tiling OLED Displays     In-Glass Wallpaper OLED Display

                                                                                                                                                                                b 55EH5C 55” class                           d       55EJ5C 55” class
                                                                                                                                                                                  Dual-View Flat OLED Displays                       Wallpaper OLED Display
                                                                                                                                                                                  Floorstanding, Ceiling Mount, Wall Mount

            CONFIDENTIAL
    LG’s Commercial OLEDs Have A Place In All Markets                                                                     Images are simulated.   Exh A - Page 12 LG’s Commercial OLEDs Have A Place In All Markets
                                                                                                                                                  7                                                                                                                                             LG000009
                                                                                                                                                                                                                                                                                                 Images are simulated.
                                                                                     Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 14 of 32 Page ID #:395

                                                                             a                                                                                                             a

                    TRANSPORTATION
LG’s OLED displays truly make an impression on travelers
whether it is their first visit to a destination or is part of their
daily traveling routine. They entertain, inform, and drive traffic
to terminal vendors while efficiently moving travelers
throughout the terminal. LG OLED displays operate as
beautifully as they look, with easy integration and remote
management that makes it simple to keep things fresh from
wherever your systems are managed..


 OPEN-FRAME CURVED OLED DISPLAYS
• Use as a living wall in large-scale concourses that are easy to update
   with the seasons
• Turn them down the center aisle displaying the culture of different            c
   destinations
• Create a focal point by tiling them in unique shapes on walls near
   escalators

LG DUAL-VIEW FLAT OLED DISPLAYS                                                                                                                                                                       a
• Using the floor standing model at terminal entrances is a perfect way
   to meet and greet visitors                                                                     b
• Grab attention by mounting from the ceiling or place over a center aisle
   with real-time departure and arrival times
• Hang from the sides of columns inside gate waiting areas to inform and
   entertain passengers while they are waiting to board
• Mount on the wall and display area hotels on one side and ground                                                                                                       d
   transportation on the other for total interaction
• Hang above security check points to supply guidance and transportation
   regulations
• Hang from the ceiling above escalators, stairways, and moving sidewalks
   to display wayfinding or directional information

DUAL-VIEW CURVED TILING OLED DISPLAYS
• Place these displays at departure gates to engage travelers while
  dividing traffic flow
• Use throughout concourses walkways to create a clever way to control
  pathways
WALLPAPER OLED DISPLAYS
• Mount behind ticket counters in waiting areas to seamlessly inform
  passengers with up-to-date schedule and gate change.
• Mount on the wall next to elevators in portrait mode providing local
  weather and events                                                         e
• Place in executive lounges to entertain and inform premier members
• Ceiling mount them above check-in counters to entertain customers to
  lower perceived wait times
• Run them up the outside of an escalator with content like walking
  through the fields or a bustling city sidewalk

IN-GLASS WALLPAPER OLED DISPLAYS
• Hang them from the ceiling at terminal entrances to welcome travelers
   and on the other side wish them happy travels
• Ceiling mount them down the duty-free corridor to advertise vendors
   and the nuances of duty-free wares
                                                                                                                                                                a 55EF5C 55” class                           c   65EE5PC 65” class                       e 55EG5CD 55” class
                                                                                                                                                                  Open-Frame Curved OLED Displays                Dual-View Curved Tiling OLED Displays     In-Glass Wallpaper OLED Display

                                                                                                                                                                b 55EH5C 55” class                           d   55EJ5C 55” class
                                                                                                                                                                  Dual-View Flat OLED Displays                   Wallpaper OLED Display
                                                                                                                                                                  Floorstanding, Ceiling Mount, Wall Mount

        CONFIDENTIAL
LG’s Commercial OLEDs Have A Place In All Markets                                                         Images are simulated.   Exh A - Page 13 LG’s Commercial OLEDs Have A Place In All Markets
                                                                                                                                  9                                                                                                                                         LG000010
                                                                                                                                                                                                                                                                             Images are simulated.   10
                                                                                         Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 15 of 32 Page ID #:396


                                                                                                                                                                          a
                    PUBLIC VENUES                                            e                     e
Public venues cover a wide variety of spaces such as museums,
convention centers, sports arenas, amusement parks, and
concert halls. LG’s OLEDs are so versatile and adapt to unique
placement and design opportunities never thought of before.
They can entertain, inform, and drive traffic around a venue
easily. They operate as beautifully as they look, with easy
integration and remote management that makes it simple to
keep things fresh from wherever your systems are managed.
A true way to entice patrons into any environment.


 OPEN-FRAME CURVED OLED DISPLAYS
• Entertain visitors by decorating columns as they make their way to their
   seats
• Engage patrons in a large-scale when covering the ceiling over
   escalators
• Cover the entire ceiling for a big WOW factor
• Tile in a 360° circle and place center stage for the most spectacular
   scoreboard ever seen
• Create vivid free-form backdrops behind entertainers with content that
   is synced with their show

LG DUAL-VIEW FLAT OLED DISPLAYS
• Grab attention by mounting from the ceiling or place over hallways and
   concourses letting people know daily event schedules                              b                                b
• Hang from the sides of columns throughout the space to inform and
   entertain patrons while they are waiting for the event to begin
• Mount on the wall to promote gift shops and different eateries

DUAL-VIEW CURVED TILING OLED DISPLAYS
• Place in common areas to advertise workshops and other calendar
  events
• During intermissions, place in lobbies to entertain the audience as they
  wait
                                                                                               c
WALLPAPER OLED DISPLAYS                                                                                                                                                                                     d
• Place in portrait mode and show movie trailers replacing static posters
• Place on the floor below 3D character cutouts playing content placing
  them in their scene

IN-GLASS WALLPAPER OLED DISPLAYS
• Hang from the ceiling playing different upcoming events on each side
• Ceiling mount and use as aisle signage to inform audiences what they
   can expect when they enter the arena
• Combine floor standing and ceiling mounted displays together to form
   a visually stunning dimensional wall




                                                                                 a



                                                                                                                                                                    a 55EF5C 55” class                           c   65EE5PC 65” class                       e 55EG5CD 55” class
                                                                                                                                                                      Open-Frame Curved OLED Displays                Dual-View Curved Tiling OLED Displays     In-Glass Wallpaper OLED Display

                                                                                                                                                                    b 55EH5C 55” class                           d   55EJ5C 55” class
                                                                                                                                                                      Dual-View Flat OLED Displays                   Wallpaper OLED Display
                                                                                                                                                                      Floorstanding, Ceiling Mount, Wall Mount

        CONFIDENTIAL
LG’s Commercial OLEDs Have A Place In All Markets                                                             Images are simulated.   Exh A - Page 14 LG’s Commercial OLEDs Have A Place In All Markets
                                                                                                                                      11                                                                                                                                        LG000011
                                                                                                                                                                                                                                                                                 Images are simulated.   12
                                                                                        Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 16 of 32 Page ID #:397

                                                                                            e

                    HOSPITALITY
Hospitality has always been a guest-centric focused business
that specializes in memorable experiences. LG’s OLEDs will
revolutionize the hotel guest experience from check-in to
check-out through beautiful, intuitive designs. From the lobby,
fitness center, meeting spaces, and collaborative common
spaces, LG OLED displays operate as beautifully as they look.
Easy integration and remote management that makes it
simple to keep things fresh from wherever your systems are                                          c
managed.


 OPEN-FRAME CURVED OLED DISPLAYS                                                                                                                                            a
• These displays create a big impact when placed in unique forms in
   lobbies                                                                                                                                                                                                      a
• Arch from walls and inform visitors of conference event schedules
• Design a unique shaped backdrop behind the check-in desks to show
   content that is relaxing and engaging while travelers wait for their rooms
• Wrap empty walls with live video feed from outside the property for
   guest to get excited to take advantage of the properties activities
                                                                                d
LG DUAL-VIEW FLAT OLED DISPLAYS
• Engage guests in the fitness center by mounting from the ceiling playing
   a work out for people on the treadmill and on the other side play the
   correct way to lift weight                                                                                              e
• Mount from the wall and display local events on one side and ground
   transportation on the other for total interaction.                                           d
• Hang near concierge desks showing videos of local attractions

DUAL-VIEW CURVED TILING OLED DISPLAYS
• Position in event spaces showing videos of the parties as they are
  happening
• Place at the entrances to welcome and thank guests coming and going

WALLPAPER OLED DISPLAYS
• Use as a digital concierge displaying up-to-date event schedules, local
  activities and more
• Mount on the wall or ceilings inside elevators with enticing restaurant
  menus
• Play informational videos on guest services placing them at elevator
  vestibules
                                                                                        a
IN-GLASS WALLPAPER OLED DISPLAYS
• Use as an easy-to-update scheduling system when they hang down the            b
   ceiling of event space hallways
• Use as exciting menu boards outside of restaurants
• Hang down retail hallways to engage guests on vendors' wares




                                                                                    a



                                                                                                                                                                   a 55EF5C 55” class                               c   65EE5PC 65” class                       e 55EG5CD 55” class
                                                                                                                                                                     Open-Frame Curved OLED Displays                    Dual-View Curved Tiling OLED Displays     In-Glass Wallpaper OLED Display

                                                                                                                                                                   b 55EH5C 55” class                               d   55EJ5C 55” class
                                                                                                                                                                     Dual-View Flat OLED Displays                       Wallpaper OLED Display
                                                                                                                                                                     Floorstanding, Ceiling Mount, Wall Mount

        CONFIDENTIAL
LG’s Commercial OLEDs Have A Place In All Markets                                                            Images are simulated.   Exh A - Page 15 LG’s Commercial OLEDs Have A Place In All Markets
                                                                                                                                     13                                                                                                                                            LG000012
                                                                                                                                                                                                                                                                                    Images are simulated.   14
                                                                                Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 17 of 32 Page ID #:398



                    CORPORATE
                                                                            a
Corporate buildings are being designed and updated with
technology in mind. LG OLEDs will give the lobby, elevators, and
                                                                                                                                                                                                             a
other common areas a positive first impression to visitors.
Adding LG OLED displays on sales floors, breakrooms, and
conference rooms will inspire and inform your employees and
educate visitors.. They are simple to install with seamless
integration, and their remote management will keep things
fresh from wherever your systems are managed.


 OPEN-FRAME CURVED OLED DISPLAYS
• Create a bold branding statement by designing an attractive, forward
   thinking atmosphere in the lobby
• Keep employees apprised with larger-than-life training sessions in
   auditorium spaces
• Inform customers of your full line of products and services by wrapping
   them around columns throughout the lobby
• Relax customers by playing soothing content before their upcoming
   meeting

LG DUAL-VIEW FLAT OLED DISPLAYS                                                    e
• Call attention to lobby service centers by suspending from the ceiling
                                                                                                                                                                                                 e
   talking about the building’s residences and its architecture
• Use as directional signage throughout common spaces
• Immerse visitors by hanging several evenly spaced down a long corridor

DUAL-VIEW CURVED TILING OLED DISPLAYS
• Customers will take notice of these displays unique shapes when placed
  by escalator and stairways
• Place in common areas for visitors to view while waiting, reinforcing
  products on one side and services on the other

WALLPAPER OLED DISPLAYS
• Build employee loyalty by placing in breakrooms recognizing employee
  achievements and other personalized messaging such as birthdays and
  anniversaries
• As customers enter the conference area show customized messaging
  to reinforcing their importance
• Locate up and down hallways reminding employees of "up-training",
  sessions, seminar enrollments and seasonal health advice

IN-GLASS WALLPAPER OLED DISPLAYS
• Meet customers with a personalized video message from the CEO as
   they enter the building
• Hang from the ceiling in employee breakrooms with different messaging
   on each side such as company announcements and productivity metrics
• Call out new acquisitions and other major company wide changes
• Use with a company social media Apps to show off products and
   services                                                                                    d




                                                                                                                                                           a 55EF5C 55” class                           c   65EE5PC 65” class                       e 55EG5CD 55” class
                                                                                                                                                             Open-Frame Curved OLED Displays                Dual-View Curved Tiling OLED Displays     In-Glass Wallpaper OLED Display

                                                                                                                                                           b 55EH5C 55” class                           d   55EJ5C 55” class
                                                                                                                                                             Dual-View Flat OLED Displays                   Wallpaper OLED Display
                                                                                                                                                             Floorstanding, Ceiling Mount, Wall Mount

        CONFIDENTIAL
LG’s Commercial OLEDs Have A Place In All Markets                                                    Images are simulated.   Exh A - Page 16 LG’s Commercial OLEDs Have A Place In All Markets
                                                                                                                             15                                                                                                                                        LG000013
                                                                                                                                                                                                                                                                        Images are simulated.   16
                                                                                                                                               Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 18 of 32 Page ID #:399




                                                                                                   “ There’s nothing like a
                                                                                                     dream to create the
                                                                                                     future.”                          Victor Hugo,
                                                                                                                                       Les Misérables




                                                                                                         CLICK HERE
                                                                                                         TO WATCH




1
    Videos courtesy of YouTube®.
All images on screen are simulated. Design, specifications, and features subject to change without notice.
This promotion is subject to change without notice. LG has the right to terminate this promotion at any time.
© Copyright 2017 LG Electronics USA, Inc. All rights Reserved. LG Life's Good, Pro:Centric and XD Engine are registered trademarks of LG Corp. Pro:Idiom is a
registered trademark of Zenith Electronics Corporation. All other product and brand names are trademarks or registered trademarks of their respective companies

ePUB_OLEDs_031743_PR

        CONFIDENTIAL
LG’s Commercial OLEDs Have A Place In All Markets                                      Exh A - Page 17                                                            LG000014     17
Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 19 of 32 Page ID #:400




          EXHIBIT B
Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 20 of 32 Page ID #:401




                                 Exh B - Page 18
Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 21 of 32 Page ID #:402




                                 Exh B - Page 19
Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 22 of 32 Page ID #:403




                                 Exh B - Page 20
Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 23 of 32 Page ID #:404




          EXHIBIT C
Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 24 of 32 Page ID #:405




                           Creating a New Content
                     Palette—with Game-Changing
                             LG OLED Technology

                                                                        Presented by:



   An      Partner
   CONFIDENTIAL                  Exh C - Page 21                     LG000108
    Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 25 of 32 Page ID #:406




    We’re entering a new era for AV and digital displays—with
    totally new communication, imaging, branding, and experiential
    possibilities for corporate and educational campuses, museums,
    retail environments, and transportation hubs. Advanced end users
    and AV integrators now have access to new, game-changing tools
    that offer stunning imagery combined with new form factors.



                                 INTRODUCTION
                                 As the display and content revolution powers on, driven by fast-paced advances in
                                 display technology and user demand, the need for new solutions, platforms, and
                                 business models is evolving quickly. The most advanced AV integrators, and the
                                 most demanding users, are thinking outside the box—literally—and crafting not just
                                 display solutions but immersive experiences. LG OLED is at the heart of this thinking,
                                 providing tools to take these installations way beyond anything of which digital displays
                                 or conventional “flat panels” are capable. LG OLED displays are creating new ways to
                                 engage with museum and entertainment venue attendees, retail customers, commuters
                                 at transportation hubs, and corporate employees. And they are establishing new
                                 performance benchmarks for video and graphics—for high resolution, high contrast,
                                 expanded color gamut, and flexible form factors. This white paper will show how.




                                 THE LG OLED REVOLUTION                                                     be integrated directly into entertainment,
                                 LG OLED technology1 has taken not just                                     museum, retail, enterprise, and other
                                 the display world, but also the branding                                   environments to create a more compelling
                                 and content worlds, by storm. LG                                           and dynamic experience for visitors,
                                 OLED’s remarkable image improvements                                       customers, or employees.
                                 and much thinner form factor enable                                        Why LG OLED? And how does it
                                 AV integrators and their customers to                                      bring totally new tools and business
                                 take stunning displays into applications                                   opportunities for installed AV and
                                 that were not served by traditional flat                                   technology-enriched architectural design
                                 panels and digital signage displays.                                       and innovation at the highest levels?
                                 LG OLED allows for many form factor
                                 options—dual-sided, curved, in-glass, or                                   According to Michael Treacy, Whitlock
                                 razor-thin wallpaper displays—that can                                     regional account manager for AV design,
    CREATING A NEW CONTENT
2   PALETTE—WITH GAME-CHANGING
    LG OLED TECHNOLOGY           1. The name OLED, “organic light-emitting diode,” is the key to understanding the technology. “Organic” refers to the carbon film layer
                                   
                                    inside the panel that produces the images the eye sees. Unlike LCD panels that need a backlight—a fluorescent bulb or LED backlight
                                    to shine through the LCD panel—OLED pixels emit their own light to produce the image. The result—with the pixels directly producing

       CONFIDENTIAL                              Exh C - Page 22                                                                              LG000109
                                    (“emitting”) both color and light intensity—is better color, better contrast ratio, better handling of motion, and better off-axis viewing.
    Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 26 of 32 Page ID #:407




                                                             install, and unified communications, LG           “LG OLED is a game-changing
                                                             OLED provides Whitlock, one of the top            technology,” says Matt Waidley, national
                                                             AV integrators in the US, totally new             distribution manager at LG. “Our booths
                                                             business opportunities. Whitlock is already       at the major AV trade shows this year
                                                             spec’cing and building LG OLED displays           have been deep with AV integrators
                                                             into some high-level installations. Why?          and end users. For them, this is a new
                                                                                                               technology generation. It opens up new
                                                             “OLED from LG is just such a refreshing           palettes, new frames. LG OLED can be
                                                             new display solution, for us and for our          bent, for example. The new opportunities
                                                             customers,” says Treacy. “It’s very futuristic    are about putting new screens, and better
                                                             in look and feel. It’s thin, and that’s nice in   screens, in places where they could not
                                                             terms of visual appeal, and it also makes         be put before.”
                                                             it easier to install. From an integration
                                                             standpoint, it opens up new opportunities         The experts are seeing LG OLED enter
                                                             because it’s easy to install anywhere, but        the market in a big way. What’s being
                                                             it’s also easy to install in different kinds of   done in the field today that offers a
                                                             spaces, unusual places. And anyone who’s          look into the possibilities that LG OLED
                                                             seen it—including our customers—can see           technology offers? Imagine a huge display
                                                             the stunning color saturation, the eye-           palette built into a ceiling, high above
                                                             popping color, and the deep blacks.”              an open public space in an international
                                                                                                               airport. Imagine a large video wall that is
                                                             Jeff Porter, a top commercial AV                  curved—traditional flat panels were never
                                                             consultant, echoes the comments coming            amenable to a curved configuration,
                                                             from the advanced display communities             but LG OLED can be curved. (LG OLED
                                                             in broadcast TV and Hollywood.                    can even be curved on-site, live, in
                                                             “With OLED, there is no backlight,”               the installation.)
                                                             says Porter. “The pixels are the light            Imagine creating large tunnels made
                                                             source, because it’s a high-resolution,           entirely of stunning digital displays. LG
                                                             emissive technology, so the result is a           OLED takes you and your customers
                                                             deeper black capability, and better color         beyond “AV”—it takes you into new
                                                             saturation because LCD crystals are not           design and architectural dimensions
                                                             filtering the light source and weakening          that mean more and better business
                                                             color and polluting deep blacks.”                 opportunities.


          Curved LG OLED displays configured into a
    long, sweeping, curved display wall. Each 65-inch
          portrait display (there are seven visible in the
     video wall above) has a depth under 9 mm and a
       unique dual-sided view to offer users two-sided
         media. Each screen is 4K Ultra HD resolution
                                         (3840 x 2160).




      CREATING A NEW CONTENT
3     PALETTE—WITH GAME-CHANGING
      LG OLED TECHNOLOGY


           CONFIDENTIAL                                                 Exh C - Page 23                                            LG000110
    Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 27 of 32 Page ID #:408




                                                           Here’s an example of how a top AV            staff also? Because it’s clear that the
                                                           integrator recently used LG OLED             management/marketing folks at top
Why LG OLED?                                               to craft a unique solution—a solution        business schools—like corporations—now
                                                           that’s refreshing and different as well      want to find ways to stand out from the
The game-changing performance                              as modest in scope—with their client.        crowd, to promote their ‘brand awareness’
that no other displays can match:                          Whitlock, by any standard one of the top     whenever and wherever they can.”
                                                           AV integrators in the country, worked
• Perfect black: Each pixel can
                                                           with the Smeal College of Business at        As a result of the LG OLED presentation
    
  switch off completely to reproduce
  absolute black with no light bleed.                      Penn State University. Whitlock’s Mike       to the Penn State business school, dual-
                                                           Treacy describes the challenge, and          sided LG OLED displays were selected
• Stunning color and contrast: Self-                       the solution:                                for the application.
    
  lighting pixels bring colorsto life
  with superb accuracy and infinite
                                                           “At the Penn State business school, they     “LG has a dual-sided, extremely thin
  contrast.
                                                           have high ceilings in the lobby area,”       configuration that lets you position the
• Off-axis performance: Awe-                               Treacy explains. “They wanted to be          displays not like more rectangles on a
    
  inspiring picture quality across                         able to position some very classy but        wall, but as hanging or protruding ‘flags,’
  the entire screen, even from wide                        impressive screens in the area, for VIP      so to speak. It allows you to place the
  viewing angles.                                          greetings, for special events, and more.     branding, or messaging, anywhere—not
                                                           But they didn’t want something nailed        just on a wall. And the double-sided
• Razor-thin design: With just two
                                                           down—they wanted to be able to move          display lets visitors view the screens
    
  layers, LG OLED signage displays
  are unbelievably lightweight and                         the screens around as needed. While          ‘coming and going.’ For the lobby of
  razor thin. And having only two                          that scenario might have a customer or       the Smeal College of Business it works
  layers is what allows dual-view (i.e.,                   AV integrator scaling back a design to       perfectly—not only are the OLED
  dual-sided) LG OLED displays to                          rolling flat panels—with not much appeal     displays themselves stunning, bright, and
  be super thin as well..
                                                           or wow factor for anyone—OLED brought        high contrast (even in the high ambient
                                                           a totally new kind of solution. We did a     light in the lobby), but all the displays
                                                           presentation of OLED from LG to the          are on tall, moveable kiosks that can be
                                                           university. But we did the presentation to   easily moved for any event. OLED was
                                                           both their tech staff and their business/    the perfect solution for the application,”
                                                           marketing staff. Why the business            Treacy says.

          LG Open-Frame OLED displays are able to
           flex to a concave or convex curve for a truly
            customizable approach that creates both a
          work of art and a functional display. Click on
                           image to see the movie clip.




        CREATING A NEW CONTENT
4       PALETTE—WITH GAME-CHANGING
        LG OLED TECHNOLOGY


           CONFIDENTIAL                                              Exh C - Page 24                                        LG000111
    Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 28 of 32 Page ID #:409




    The Salesforce San Francisco office has a custom-
       built LG OLED screen in their lobby that is 12K
    resolution, with over 7 million pixels, and measures
       close to 107 feet long. The content ranges from
      amazing waterfall visuals to California’s Redwood
     National Park and is synced with the local weather
              to play content that matches the weather.




                                                           Dan Smith, senior director of sales at LG,       scale. In the corporate space? You can
                                                           says that the company’s customers are            wrap architecture in lobbies with flexible
                                                           discovering not just the image quality, but      LG OLED.”
                                                           also the form factor possibilities of LG
                                                           OLED, in new and surprising ways.
                                                           “When you have the form factor options           CONCLUSION
                                                           that LG OLED provides, it’s amazing what         The most advanced AV integrators, and
                                                           you can do,” says Smith. “Wallpaper (i.e.,       the most demanding users, are spec’cing
                                                           extremely thin), in-glass, curves, ceilings,     in LG OLED displays that take their
                                                           waves, waves on a ceiling. Once you              installations way beyond the capabilities
                                                           have that form factor flexibility, all of that   of digital displays or conventional “flat
                                                           is possible. We are taking the same LG           panels. As the AV market and branding
                                                           OLED panel, but its thinness and flexibility     and experiential content creators seek
                                                           are allowing the configuration options.”         new solutions for new tech and business
                                                                                                            challenges, LG OLED displays have
                                                           Smith reports that LG is seeing huge             broken away from all previous form factor
                                                           demand now from retailers, who are               limitations, creating totally new palettes
                                                           competing to win mindshare of the                for digital display and more engaging
                                                           consumer in store. “They don’t want              content. These new LG OLED displays
                                                           to put a black screen in the store, to           are opening up new ways to engage
                                                           disrupt it—they want a more elegant              with museum and entertainment venue
                                                           look. And beyond the retail market, in           attendees, retail customers, commuters
                                                           sports arenas—is there a big LED ring—           at transportation hubs, and corporate
                                                           or ‘band’—encircling the entire seats/           employees and stakeholders. And
                                                           stands area in the stadium? That can be          they’re establishing new performance
                                                           emulated in the bar areas, with LG OLED          benchmarks for high resolution, high
                                                           (a major new professional sports stadium         contrast, expanded color gamut, and
                                                           is doing that today with LG OLED).               flexible form factors for video and
     CREATING A NEW CONTENT                                Ceilings, floors, and tunnels—only LG            graphics—benchmarks that are now
5    PALETTE—WITH GAME-CHANGING
     LG OLED TECHNOLOGY
                                                           OLED can do the curves on that large             defining a new norm, not the exception.¢


          CONFIDENTIAL                                                Exh C - Page 25                                            LG000112
    Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 29 of 32 Page ID #:410




                                   LG’S MARKET LEADERSHIP IN OLED

     LG Electronics USA is at the forefront of display applications             The Dual-View Flat LG OLED display also offers a space-
     and technologies that address all the needs of the commercial              efficient, dual-sided view to provide customers two-sided
     AV and digital signage markets. LG is the only manufacturer to             displays in Full HD (1920 x 1080). With an even slimmer
     offer OLED displays for the commercial AV and digital signage              depth, measuring under 8 mm (less than one-third of an inch),
     markets, with full commercial warranties and the global                    and three different installation options, this 55-inch flat LG
     service and support for which LG is known.                                 OLED commercial display allows, according to LG, “retailers
                                                                                to plan a more efficient layout while utilizing a high-end display
     LG’s new lineup of OLED displays is causing integrators and                solution. Additionally, the display has the unique ability to swap
     end users to rethink what they should expect when it comes                 and mirror content on either side of the screen with a simple
     to image quality, mounting flexibility, and sheer architectural            press of a remote-control button.”
     adaptability.
                                                                                Dual-View Curved Tiling LG OLED displays offer a curved
     LG OLED comes in two styles: either in a frame or in Open-                 design using slim tiles to form customizable displays that
     Frame products that are literally flexible. A few of the most              link combinations of two to eight tiles together. The 65-inch
     popular LG OLED configurations for the commercial AV                       portrait display has a depth under 9 mm (about one-third of an
     market are:                                                                inch), and a unique dual-sided view to offer users two-sided
                                                                                media. Each screen is 4K Ultra HD resolution (3840 x 2160).
     The LG OLED Wallpaper commercial display is a 55-inch                      If desired, the system-on-a-chip (SoC) and a 128GB internal
     display that weighs less than 13 pounds and has a depth                    memory capacity enable UHD-synced playback without the
     of just 3.65 mm. It really does hug, or float on, the wall—it              need for PCs or media players.
     doesn’t jut out from a wall like most digital displays. From a
     distance, it looks as if the display is painted on the wall—it’s
     that thin. It can be mounted either vertically or horizontally. The
     electronic components are housed in a separate control box
     connected to the display with a two-meter (6.5-foot) ribbon
     cable. The LG OLED Wallpaper commercial display features
     Full HD resolution (1920 x 1080), 64GB of internal memory,
     and content scheduling and Wi-Fi connectivity with the use
     of a Wi-Fi USB dongle for ease of installation and end user
     operation.
                                                                                LG OLED displays can be configured into stunning video walls. Click on image
                                                                                to see the movie clip of an LG OLED video wall made of portrait mode displays.

                                       LG’s In-Glass Wallpaper
                                       version (shown in the picture            CUSTOMIZABLE SOLUTIONS
                                       at left) is designed with                LG can custom-create beautiful, designed-to-function
                                       dual-sided, ultra-slim LG                OLED displays, working with you to develop a solution that
                                       OLED panels surrounded                   transforms an environment and the way people interact with it.
                                       by glass panes. The In-
                                       Glass Wallpaper LG OLED                  For full descriptions of the complete line of LG OLED display
                                       is available in standing and             offerings, click here.
                                       hanging versions to provide
                                       users flexible options.                  To view out lookbook, click here.




    CREATING A NEW CONTENT
6
                                             © 2017 NewBay Media Inc. Logos and trademarks are the property of their respective companies. All rights reserved.
    PALETTE—WITH GAME-CHANGING
    LG OLED TECHNOLOGY


       CONFIDENTIAL                                        Exh C - Page 26                                                              LG000113
Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 30 of 32 Page ID #:411




          EXHIBIT D
Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 31 of 32 Page ID #:412
                                   EXHIBIT A - CONFIDENTIAL

First NameLast Name   Email   Company                                Job Title   Country                     City                  State        Zip
                              Isothermal Communtiy College                       USA                         Spindale              NC                28160
                              Dean College                                       USA                         Franklin              MA                  2038
                              INTELLIGENT MEDIA SERVICES                         United States               Salt Lake City        Utah         84121-6110
                              P2S Engineering, Inc.                              United States               Long Beach            California        90815
                              Shen Milsom & Wilke LLC                            United States               New York              New York          10016
                              Invision Architecture                              United States               Waterloo              Iowa              50704
                              University of MD School of Nursing                 United States               Baltimore             MD                21201
                              Bull and Josie's                                   United States               Uxbridge              MA           01569-1127
                              WKU                                                USA                         Bowling Green         KY                42101
                              HCPS                                               USA                         Bel Air               MD                21014
                              fiserv                                             usa                         lake mary             fl                32746
                              MHCC                                               USA                         Gresham               OR                97030
                              Southwest Minnesota State Univer                   USA                         Marshall              MN                56258
                              General Society of Mechanics and                   USA                         New York              NY                10036
                              HA Design Group                                    United States               Springfield           Virginia          22150
                              Chaffey College                                    United States of American   San Bernardino        CA                92405
                              CAPERES UNLtd., L.L.C.                             USA                         CHICAGO               IL                60637
                              Hallmark HealthSystem                              USA                         Melrose               MA                  2176
                              DDSAV                                              USA                         SAN ANTONIO           TX                78247
                              University of South Carolina                       USA                         Columbia              SC                29208
                              fred brink's company                               usa                         marblehead            ma                  1945
                              Univeristy of Illinois, Center for Inn             rning
                                                                                 USA                         CHAMPAIGN             IL                61820
                              U of M Ross School of Business                     United States               Ann Arbor             MI                48109
                              Marshall Electronics                               USA                         TORRANCE              CA                90503
                              L3 Technologies, Link Simulation &                 USA
                              Fearings AVS                                       USA                         Madison               WI                 53714
                              KMH AV Integration INC.                            USA                         SPRINGFIELD GARDENS   NY                 11413
                              Daiichi Sankyo                                     USA                         Basking Ridge         New Jersey          7920
                              Volutone                                           United States               simi valley           ca                 93065
                              Duan Molette Entertainment Grp                     United States               ATLANTA               GA                 30307
                              University of Texas                                usa
                              Sardis Solutiuons                                  United States
                              Syntropique                                        United States               TACOMA                WA              98406
                              los angeles opera                                  usa                                               ca
                              Home Entertainment by DTronics                     United States               Mcallen               TX              78573
                              Media Voyage                                       US                          Jacksonville          OR              97530
                              K. B. Lee Corp                                     USA                         Honolulu              Hawaii          96815
                              Marra Construction, Inc                            USA                                               FL
                              Mr.                                                United States               San Francisco         CA              94116
                              rudloph                                            usa                         wilmignton            ma                1887
                              AVI-SPL                                            United States               Metuchen              NJ                8840
                              Georgia Automation & Home Thea                     U.S.A.                                            Ga
                              IMEG                                               USA                         Austin                Texas           78746
                              Allied Environmental Signage                       United States               Farmingdale           NJ                7727
                              Imagenation Systems                                USA                                               NC
                              ATKDG.com                                          USA                         LAGUNA BEACH          CA              92652
                              BCD                                                USA                         Valatie               NY              12184
                              Glumac                                             United States               Portland              Or              97204
                              Library of Congress                                USA                         Culpeper              Virginia        22701
                              unigroup                                           USA                         Fenton                MO              63026
                              National Technology Associates                     usa                         Las Vegas             NV              89118
                              TakeNote Productions Inc.                          USA                         Youngstown            Ohio            44515
                              Media Now                                          United States               Bronx                 New York        10467
                              MID-STATE DISTRIBUTING C0                          United States               Omaha                 NE              68138
                              NRO                                                USA                         Chantilly             Va         20151-1715
                              Glumac                                             United States               Portland              Or              97204
                              Evergreen av studios                               USA                         Boston                Ma                2144
                              MediaNow Inc.                                      USA                         Netcong               New Jersey        7874
                              IMEG                                               USA                         Austin                Texas           78746
                              KPAX                                               USA                         Missoula              MT              59806
                              Liquid Church                                      United States               Parsippany            NJ                7054
                              University of Illinois - College of Ve             United States               URBANA                Illinois        61802
                                                                 196             United States               Montpelier            VA              23192
                              Syska Hennessy Group                               United States               Chicago               IL              60611
                              Oneview Controls                                   United States               Marlborough           MA                1752
                              ol.com
                              Summit Process Contro,                             USA                         Midway                UT              84049
                              IHMC                                               us                          Pensacola             FL              32503
                              Eden Engineering, Inc.                             USA                         Sunrise               FL              33351
                              Vortex Immersion Media, Inc.                       USA                         Los Angeles           CA              90017
                              tk1sc                                              United States               irvine                California      92618
                              electraZing                                        U.S.A.                      nashville             tn              37203
                              Attero Tech LLC                                    United States               Fort Wayne            IN              46808
                              Fluor                                              Usa                         Garden grove          Ca              92844
                              LA PALOMA THEATRE                                  USA                         ENCINITAS             CA              92024
                              Spevco                                             USA                         Pfafftown             NC              27040
                              EVT Educational Productions, Inc.                  USA                         Montclair             NJ                7042
                              MantelMount                                        United States               Carlsbad              CA              92010
                              Dabbledoo Sound and Media Grou                     United States               Chicago               IL              60619
                              picture shop                                       us                          burbank               ca              91505
                              Metric Halo                                        USA                         Safety Harbor         FL              33695
                              Drummond Community Bank                            United States of America    Chiefland             FL              32626
                              Quality Manufacturing Inc                          USA                         Saint Paul            Minnesota       55110
                              MGNdirect                                          United States               Cardiff By The Sea    California      92007
                              American Entertainment                             usa                         Dousman               WI              53118
                              Digital Display Solutions                          USA                         San Antonio           Tx              78216
                              Miami University                                   United States               Oxford                OH              45056




                                                     Exh D - Page 27
Case 2:18-cv-03541-PSG-SK Document 30-4 Filed 09/10/19 Page 32 of 32 Page ID #:413
                            EXHIBIT A - CONFIDENTIAL

                        Mod Labz                           /Owner
                                                            United States   Rockaway Park   NY           11694
                        Noritake Co., Inc.                  USA             Fair Lawn       New Jersey    7410
                        Interior Environments               United States   Novi            Michigan     48374
                        Brisk FX                            United States   Lees Summit     Missouri     64081
                        AVEC                                USA             Finleyville     PA           15332
                        BASF                                USA             Florham Park    NJ            7932
                        main cross connect                  United States   rochester       new york     14620
                        Trident Military Systems, LLC       UNITED STATES   Mesa            AZ           85212
                        MHS Systems                         United States   Atlanta         Georgia      30331
                        Thinkwell Group                    es
                                                            United
                                                              GroupStates   Los Angeles     CA           90065
                        eTech                               United States   Niagara Falls   NY           14303
                        Pro Musix                           USA             Detroit         Michigan     48221
                        PJR Design, Inc.                    United States   CHICAGO         Illinois     60654
                        MTPBS                               USA             Bozeman         MT           59717
                        IMEG Corporation                    United States   Naperville      IL           60563
                        Texadia Systems LLC                 USA             Dallas          TX           75248




                                             Exh D - Page 28
